 1. John E. Casperson
    HOLMES WEDDLE & BARCOTT, P.C.
 2. 999 Third Avenue, Suite 2600
    Seattle, Washington 98104
 3. Telephone: (206) 292-8008
    Facsimile: (206) 340-0289
 4. Email:      jcasperson@hwb-law.com
 5. Attorneys for Plaintiff

 6.
                            IN THE UNITED STATES DISTRICT COURT
 7.
                                   FOR THE DISTRICT OF ALASKA
 8.
      OCEAN FISHERIES, LLC,
 9.
                                              Plaintiff,
10.                                                           IN ADMIRALTY
             v.
11.
    NORTHERN FIBERGLASS &
12. URETHANE FOAM, INC.
                                                              Case No.
13.                                        Defendant.
14.                                COMPLAINT (46 U.S.C. § 31343)
15.
            COMES NOW the Plaintiff Ocean Fisheries, LLC (“Ocean Fisheries”), by and
16.
      through its attorneys, Holmes Weddle & Barcott, P.C., and complains against Defendant
17.
      Northern Fiberglass & Urethane Foam, Inc. (“Northern Fiberglass”), as set forth below.
18.

19.                                              JURISDICTION

20.         1.    Jurisdiction is based upon 28 U.S.C. § 1333, admiralty, and 28 U.S.C. § 1331,

21. federal question, specifically 46 U.S.C. § 31343. This is an admiralty or maritime claim

22.
      within the meaning of Fed. R. Civ. P. 9(h).
23.
            2.    Ocean Fisheries is the owner of the vessel OCEAN HUNTER, Official
24.
      Number 622324 (“Vessel”).
25.

26. COMPLAINT
      Ocean Fisheries, LLC v. Northern Fiberglass & Urethane Foam, Inc.   HOLMES WEDDLE & BARCOTT, PC
                                                                               999 THIRD AVENUE, SUITE 2600
      Case No.                                   - Page 1 of 3                   SEATTLE, WA 98104-4011
         Case 3:14-cv-00069-HRH Document 1 Filed 04/09/14 Page 1 of 3           TELEPHONE (206) 292-8008
                                                                                    FAX (206) 340-0289
 1.         3.    Plaintiff seeks a declaration that the Vessel is not subject to a certain Notice of
 2.
      Claim of Maritime Lien or to the maritime lien asserted therein by Defendant.
 3.
            4.    The Vessel is in the District of Alaska.
 4.
            5.    The lien that is the subject of this action arose in connection with work
 5.
      performed in relation to the Vessel.
 6.

 7.         6.    Ocean Fisheries is Washington limited liability corporation.

 8.                                   COUNT I: NO MARITIME LIEN
 9.         7.    Northern Fiberglass filed a Notice of Claim of Maritime Lien against the
10.
      Vessel with the United States Coast Guard on January 6, 1997, at Book 96-111, Page 94,
11.
      as set forth more fully in the General Index or Abstract of Title attached as Exhibit A.
12.
            8.    The maritime lien amount claimed by Northern Fiberglass against the Vessel
13.

14. is $11,404.00.

15.         9.    Northern Fiberglass’s claim is without merit.

16.         10. Northern Fiberglass’s Notice of Claim of Maritime Lien is a cloud on the title
17. to the Vessel and impairs the use and marketability of the Vessel.

18.

19.
            WHEREFORE, Ocean Fisheries, LLC prays that the Court declare and award as
20.
      follows:
21.

22.         1.    Declare that the Vessel is not subject to any maritime lien or Notice of Claim

23. of Maritime Lien in favor of Defendant.

24.         2.    An award of attorney fees and costs incurred in bringing this action.
25.

26. COMPLAINT
      Ocean Fisheries, LLC v. Northern Fiberglass & Urethane Foam, Inc.   HOLMES WEDDLE & BARCOTT, PC
                                                                               999 THIRD AVENUE, SUITE 2600
      Case No.                                   - Page 2 of 3                   SEATTLE, WA 98104-4011
         Case 3:14-cv-00069-HRH Document 1 Filed 04/09/14 Page 2 of 3           TELEPHONE (206) 292-8008
                                                                                    FAX (206) 340-0289
 1.          3.     Enter such other and further relief as the court deems reasonable and just.
 2.
             DATED this 8th day of April, 2014.
 3.
                                                                 HOLMES WEDDLE & BARCOTT, P.C.
 4.
                                                                   s/ John E. Casperson
 5.                                                              John E. Casperson, ABA #7910076
                                                                 999 Third Avenue, Suite 2600
 6.                                                              Seattle, Washington 98104
                                                                 Telephone: (206) 292-8008
 7.                                                              Facsimile: (206) 340-0289
                                                                 Email:       jcasperson@hwb-law.com
 8.                                                              Attorneys for Plaintiff
 9.

10.

11.

12.

13.

14.

15.

16.
17.

18.

19.

20.

21.

22.

23.

24.   G:\6077\27849\Pleadings\DRAFTS\Complaint P42504_0214.doc

25.

26. COMPLAINT
      Ocean Fisheries, LLC v. Northern Fiberglass & Urethane Foam, Inc.          HOLMES WEDDLE & BARCOTT, PC
                                                                                      999 THIRD AVENUE, SUITE 2600
      Case No.                                   - Page 3 of 3                          SEATTLE, WA 98104-4011
         Case 3:14-cv-00069-HRH Document 1 Filed 04/09/14 Page 3 of 3                  TELEPHONE (206) 292-8008
                                                                                           FAX (206) 340-0289
